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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


SHANTELL JARRETT,

             Plaintiff,                        Case No.: 1:18-cv-05218-SCJ-RGV

      vs.
                                               NOTICE OF VOLUNTARY
                                               DISMISSAL WITH PREJUDICE
AMERICAN CORADIUS
INTERNATIONAL, LLC,
             Defendant.


      COMES NOW Plaintiff SHANTELL JARRETT, by and through her
attorney of record, Jonathan B. Mason, Esq., hereby notifies the Court that
pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff requests this
Court dismiss the action with prejudice, both parties to bear their own costs.


Date: January 3, 2019

                                       By: s/ Jonathan Mason                  /
                                           Attorney for Plaintiff
                                           Jonathan B. Mason, Esq.
                                           Mason Law Group, P.C.
                                           1100 Peachtree Street, NE, Suite 200
                                           Atlanta, GA 30309
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                                           Email: jmason@atlshowbizlaw.com




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                Certificate of Compliance With Local Rule 7.1D

     Pursuant to Local Rule 7.1D, the undersigned counsel certifies that this
document has been prepared using Times New Roman 14-point font.


                                                /s/ Jonathan B. Mason
                                                Jonathan B. Mason
                                                Georgia Bar No. 475659




                               Certificate of Service

     I hereby certify that on this date, I electronically filed this Notice of
Voluntary Dismissal with Prejudice using the CM/ECF system which will
automatically send email notification of such filing to all attorneys of record.


      This 3rd day of January, 2019     Respectfully Submitted,

                                                /s/ Jonathan B. Mason
                                                Jonathan B. Mason
                                                Georgia Bar No. 475659




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